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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )
                                                 )
RICHARD W. GATES III,                            )           Crim. No. 17-201-2 (ABJ)
                                                 )
               Defendant.                        )

 DEFENDANT RICHARD W. GATES III’S NOTICE OF GOVERNMENT’S POSITION
      ON DEFENDANT’S MOTION TO MODIFY RELEASE CONDITIONS
    FOR LIMITED PURPOSES TO FACILITATE MEETINGS WITH COUNSEL

       In response to this Court’s Minute Order issued today, November 28, 2017, ordering that

Richard W. Gates, III inform the Court of the government’s position on his motion to modify

release conditions, which was filed today, November 28, 2017, Mr. Gates, through counsel,

informs the Court that the United States does not oppose Mr. Gates’s motion provided that Mr.

Gates remains on GPS monitoring during the time period of meeting with attorneys in

Washington, D.C., notifies Pre-Trial Services of the location where he is staying and travels only

to his attorney’s office, back to his hotel room, and to his residence with no intermediate stops

other than stopping for gas. Mr. Gates is currently on GPS monitoring and does not seek to alter

that condition at this time. Mr. Gates has and will continue to inform Pre-Trial Services of the

date, time and location of his meetings. He will certainly include his accommodations in those

notifications. Mr. Gates will not make intermediate stops on his way to meetings with counsel

but submits that it would be reasonable and necessary for this Court to permit rest breaks in

addition to stopping for gas while in transit.
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       WHEREFORE, Mr. Gates hereby respectfully submits this information in aid of this

Court’s consideration of his motion to modify his release conditions as requested in his Motion

to Modify Release Conditions for Limited Purposes to Facilitate Meetings with Counsel.

                                            Respectfully submitted,


                                            _/s/Shanlon Wu_______________
                                            Shanlon Wu
                                            D.C. Bar No. 422910
                                            Wu, Grohovsky & Whipple, PLLC
                                            Ronald Reagan Building and International
                                            Trade Center
                                            1300 Pennsylvania Avenue, NW, Suite 700
                                            Washington, DC 20004
                                            swu@dcwhitecollar.com
                                            202-204-3053 office
                                            202-747-7518 fax

                                            Walter Mack
                                            Admitted Pro Hac Vice
                                            Doar Rieck Kaley & Mack
                                            217 Broadway, Suite 707
                                            New York, NY 10007-2911
                                            212-619-3730 (Telephone)
                                            212-962-5037 (Facsimile)
                                            Attorneys for Richard W. Gates III




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